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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


JEREMY RODRIGUEZ-ORTEGA AND
JOSHUA RODRIGUEZ,
               Plaintiffs,
v.                                                          No. 1: 21-cv-01129-JCH-KK


DAVID RICH, KENNETH LUCERO,
in their official and individual capacities, L. TERESA
PADILLA, in her individual capacity,
AND NEW MEXICO DEPARTMENT OF HEALTH
               Defendants,


 PLAINTIFFS RESPONSE IN OPPOSITION TO DEFENDANT PADILLA’S MOTION
                       FOR RULE 11 SANCTIONS


       COMES NOW, Plaintiffs Jeremey Rodriguez-Ortega and Joshua Rodriguez, by and

through their counsel of record, Heather Burke, with their Response in Opposition to Defendant

Padilla’s Motion for Rule 11 Sanctions. Defendant Padilla’s motion is completely baseless, and

for the reasons argued herein, must be denied.



                                          Background

       Plaintiffs’ sought leave to amend their complaint to include a due process claim against

Defendant Padilla. Their complaint used the official start date for Defendant Padilla which is

purportedly September 18, 2021 according to the Sunshine Portal. Plaintiffs have diligently

attempted to discover evidence which would help to identify when Defendant Padilla started

performing duties on behalf of SPO. Yet, all the evidence which should exist about this transfer

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allegedly does not. Defendant DOH claims to have deleted about 20 years of emails

immediately after Defendant Padilla’s transfer. SPO claims to have no hiring or pay

documentation for this transfer, even though they would be required to submit forms to change

Defendant Padilla’s title and compensation. Defendant Padilla, herself, claims to have no

evidence of this job or her compensation for it. However, evidence supports the fact that

Defendant Padilla started duties at SPO months earlier, likely before May 4, 2021, and that there

was a pattern or practice of governor appointees working in a position before they officially

began.

         The day after Defendant Padilla filed this meritless Rule 11 motion, she filed a Motion

for Summary Judgment arguing substantially the same as this Motion. She attached no

documentary evidence in support of her motion or version of events, only a several page long

declaration. This has resulted in Plaintiffs having to unnecessarily expend time on two

substantially similar briefs due only a day apart.




                                                Argument

         As an initial matter, Defendant Padilla’s Motion appears to be a second and improper

motion to dismiss the claim against her 1. Defendant Padilla, consistent with the entirety of

litigation, includes no documentary evidence of her version of events, and makes weak

arguments that the law does not support the claim against her, which she renders moot in a

footnote acknowledging that Plaintiffs couldn’t have brought them the way she argues. She

mostly argues only about disputes of fact and evidence which are not a proper basis for a Rule 11



1
 It may also be a violation of the First Amendment and/or New Mexico’s Anti-SLAPP law as it seeks punishment
for asserting constitutional claims against her.

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Motion at all. In addition, she conflates the concept of “no evidence” as it may suggest

innocence, and mysteriously missing evidence, which actually has the opposite effect.

       Plaintiffs had to seek leave to amend their complaint, and this Court had to grant that

leave. In so doing, Plaintiffs had to meet a standard of plausibility. This Court would have

denied any leave to amend if the amended claims were as baseless as Defendant Padilla argues

herein. Defendant Padilla has already moved to dismiss this claim, and while this Court has not

yet ruled on that Motion, she insists on trying to extort Plaintiffs and their counsel to agree to

dismiss the claim against her. Counsel for Defendant Padilla have spent the last few months

threatening undersigned counsel, trying to scare her with the threat of sanctions to get her to

dismiss the claim against their client. This is an incredibly abusive litigation tactic. If, as

Defendant Padilla claims, there is no evidence against her, she would not need to attach, and try

to explain away, the exhibits to her motion. She attaches no other evidence proving her version

of events. She may not like it, but the exhibits are evidence that a jury should consider and they

might reasonably find opposite to what Defendant Padilla asserts. Tellingly, Defendant Padilla

didn’t attach any of the instant exhibits as proof of an absence of material fact in her Motion for

Summary Judgment, which suggests that even she is aware that they can be interpreted more

than one way. That there are clear disputes of material fact for the jury renders her sanctions

motion wholly inappropriate and brought in bad faith.




    Plaintiffs knowledge of the facts and evidence of their due process claim is irrelevant



       It is well-established that Plaintiffs are not required to know the law, or how facts apply

to the law, or to otherwise have an up to the minute knowledge of evidence related to it.

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        Plaintiffs, however, are not required to have personal knowledge of all of the facts
        in their complaint in order to bring their claims. Evidence of the factual
        allegations in a complaint does not always come from the plaintiff. Indeed, it is
        not uncommon that a plaintiff knows very little about how an accident happened
        that caused his or her injuries, what happened in an operating room that caused
        medical malpractice, or how a loved one died in a wrongful death case. Many
        cases are supported by expert testimony and other investigatory methods of which
        a particular plaintiff may know nothing about. ... In short, the plaintiffs
        themselves are not required to have personal knowledge of every fact that
        supports their claims.

Adler Med., LLC v. Harrington, No. 1:22-CV-00072-KG-LF, 2023 WL 3569099, *2 (D. N.M.

May 19, 2023); see also Surowitz v. Hilton Hotels Corp., 383 U.S. 363 (1963)(plaintiff is not

required to know or understand all the elements of his case, the evidence he has, or how the case

will be tried.)


        Defendant Padilla argues to this Court that Plaintiffs knowledge of the evidence against

her, or lack thereof, is dispositive of the frivolous nature of it. This is a specious argument. The

claim against her requires no personal knowledge or active involvement on the part of either

Plaintiff. The evidence attached to this Motion was only just received by Plaintiffs prior to the

deposition of Mr. Rodriguez-Ortega and two months after the deposition of Mr. Rodriguez.

Defendant Padilla wishes this Court to believe that undersigned counsel should be sanctioned

based on what her clients understand or remember about the facts and the law. What matters is

whether this is a basis for this claim, and any evidence to support it. There is.

                             Lack of evidence has become evidence

        As mentioned above, Plaintiffs’ discovery surrounding their claim against Defendant

Padilla has been nearly completely thwarted by obstructive tactics. Defendant Padilla’s strategy

seems to have relied completely on this obstruction. Defendant DOH claims to have deleted 20


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years of emails right after she left. SPO claims it has no hiring or pay information at all for their

deputy director, but have that information for her when she was promoted to director and for the

subsequent individual promoted to director. She has disclosed not a single witness in her

defense, and not a single exhibit which she will use at trial. This is a case where the lack of

existence of evidence has become evidence because no reasonable jury could believe that there is

a legitimate reason for this evidence to not exist and/or have been destroyed, particularly as it is

also important to the public record. This is especially true when that same evidence exists for

others.

          Defendant Padilla literally alleges that Plaintiffs have come up “empty handed in

discovery” because that’s what her goal was. They provide no evidence at all that Plaintiffs’

claim is meritless, but point to the lack of evidence. But they don’t even understand the

operative facts enough to understand the evidence they attach to the instant motion. Just the fact

that they have to attach evidence just to try to explain their spin on it to this Court defeats their

Motion completely.

          It is clear that Defendant Padilla does not actually understand the claim against her. She

spends a great deal of time inventing fictional allegations against her in order to then argue that

there’s no proof of them. Defendant Padilla being the superior of the judges adjudicating claims

involving her, her testimony, and the decisions of herself and her direct subordinates creates a

conflict of interest and appearance of impropriety. A reasonable jury might well find that either

or both of the ALJs had more reason to find in favor of their boss than against her. Certainly,

between the complete lack of evidence which should exist, and the little evidence that does exist,

it is substantially likely that Defendant Padilla was performing work for SPO before May 4,

2021.



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                                       May 4, 2021 letter


       In what is probably an actual violation of Rule 11, Defendant Padilla argues to this Court

that this May 4, 2021 document titled “Delegation of Certain Line Authority – Amended”

(emphasis added) is the 2nd page of a document dated September 27, 2021, titled “Delegation or

Certain Line Authority.” She even presents them as though they are a single document, in one

exhibit. She claims that the order of bates numbering means they are “clearly” the same

document, which is absurd. One can order documents however they like when applying labels to

them. It is likely that the same or similar template was used to create both documents which is

why the individual numbers listed are consecutive, but that’s the only thing these documents

have in common. These documents have different dates, different subject lines, and were clearly

printed on two different printers.


For example, comparing the September 27, 2021 document:




To the May 4, 2021 document printer:




This comparison shows that the two documents were not printed on the same printer at the same

time as one another.

       That the May 4, 2021 document is also titled “Delegation of Certain Line Authority –

Amended” means there was another earlier delegation document we don’t have that it was

amending, and we don’t know what those duties were at that time, or at the time they were

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amended. Besides this being a hand signed document dated May 4, 2021, one of the other

striking details is that it was copied to three different files. Yet this is the only version produced

from any of those three. Despite being saved in triplicate, we only received only a single page of

a partial document. It would clearly be a public record under state law as it is delegating

directorial duties for an executive state agency, so the fact that the whole document was not

preserved is a serious issue.

       Opposing counsel objected to 43% of the questions asked at Defendant Padilla’s

deposition. The most common, and made via improper speaking objection several times, was

“The document speaks for itself.” But for some reason, this document allegedly does not speak

for itself. They want everyone to believe that the date on just this one document is not reliable

because it contradicts story, which has no documentary evidence of its own. But for every other

document, they want Plaintiffs to accept them as written. She can’t have it both ways. None of

the Defendants have produced native documents with original metadata, preventing better

authentication of the documents and the dates they were created and/or signed as well as other

pertinent information. This requires Plaintiffs to rely on the representations made on the

document, particularly regarding material facts.

       It is not unreasonable to believe that Defendant Padilla was working for SPO before she

was officially the deputy director because the State has a practice of doing just that. The

sunshine portal shows that Dylan Lange, who was promoted to SPO Director after Defendant

Padilla’s retirement, started in the position on December 23, 2023. [Ex 1] However, his

PARF(Personnel Action Request Form) shows he was approved for that promotion from General

Counsel to “Agency Director” effective September 2, 2023. [Ex 2] Sure enough public record for




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September 2023 2 shows that Dylan Lange started being paid $179, 802.50, commensurate with

other agency directors. [Ex 3] Interestingly, there is another PARF for Mr. Lange after formal

acceptance of SPO Director, his compensation was decreased by a penny from what he had been

paid previously, at $179.850.49 3 [Ex 4] This is an material example of how official start dates do

not always reflect the reality of when someone actually starts working in a role.

        The critically material “Personnel Action Request Forms” for Defendant Padilla

purportedly do not exist to document her move from DOH to SPO. It is unclear how her raise or

change in title was effectuated without these required documents. Emails that would show what

work she was doing at the time in question have also allegedly been destroyed. Formal

documents related to the raises given to the two hearing officers also appear not to exist, and we

instead have only informal, incomplete and/or self-impeaching documents. (see below) Both the

established practice of SPO and the May 4, 2021 partial document indisputably creates

questions of fact for a jury and defeats Defendant Padilla’s entire motion. Plaintiffs’ claims

cannot be frivolous if a jury could reasonably find in their favor.


                                               Hearing Officers


        Defendant Padilla argues that the record showing Aaron Baca was approved for a raise on

April 5, 2021 shows that Plaintiffs claims have no basis. For reasons which remain unclear, SPO

claims to have no final signed copies of these records, nor the DFA approved version. This is

unusual. In addition, there are numerous problems with this document, which all create

questions of fact. Aaron Baca was hired at SPO on April 5, 2021 [Doc. 34-3] for his position as

ALJ. He could not have also been approved for a promotional raise on the day he started

2
 This full spreadsheet can be provided if requested, but is also available on the sunshine portal.
3
 And the sunshine portal reports that now makes 2 cents less a year than he did in September 2023, now listed as
$179850.48.

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because he simply would have been hired at the higher rate to begin with. Defendant Padilla

even highlights these dates to show this Court that clearly his raise was approved on April 5,

2021. But it also shows that his raise was approved by Director Pamela Coleman. Ricky Serna

became the acting SPO director on January 31, 2021, after Ms. Coleman’s departure. [Ex 5]

There is no way that Pamela Coleman could have approved Aaron Baca’s raise on April 5, 2021.

         Additionally, Mr. Baca did not receive a raise until around September 2021[Doc. 34-3],

which doesn’t make sense if he was approved for it April 5, 2021. After all, Janelle Haught’s

raise was allegedly approved April 23 4, and she received the letter notifying her it was approved

and official in May, and for unknown reasons it was retroactive to April 13, 2021, before it was

even approved.       No such letter for Aaron Baca was produced, so we do not know when he

received notice of his raise, or exactly when it became effective. There is no reason he would not

have received a similar letter, and its absence is telling.

         Janelle Haught’s raise was approved on one of the same days that Mr. Rodriguez’s

hearing was being conducted by her. Perhaps that is just a coincidence, or maybe it isn’t. A jury

can decide whether they think it is. It seems pretty clear that Defendant Padilla was already

working at SPO at that point, given the May 4, 2021 amending of certain line authority to her.

But the documents included for Ms. Haught demonstrate, again, that even though public records

show Ms. Haught’s raise as taking effect in May, it actually took effect in April. SPO has a clear

practice of “fudging” the dates that personnel actions occur. Clearly the public records on the

sunshine portal which are supposed to evidence government transparency are not accurate

reflections of what is actually taking place regarding these personnel actions.




4
 The “signatures” are nearly all typed /s/ even though the state had long established legitimate docusign e-signatures
during Covid

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                     Defendant Padilla’s Rule 11 motion has no basis at all

       Perplexingly, despite the complete absence of exonerating evidence in her defense,

Defendant Padilla argues about her perception of how Plaintiffs should prosecute their claim

against her, such as what she was not asked at her deposition. Plaintiffs are not aware that they

must ask the questions Defendants want them to at a deposition. Nor must they depose

whomever Defendant Padilla desires. She has listed no witnesses nor any exhibits which

Plaintiffs would need to examine in any deposition. She claimed to have no documents in her

own possession, so Plaintiff subpoenaed the ones attached as exhibits from SPO. Despite this

being a subpoena and not an actual discovery request, SPO bates stamped the responsive

documents and served all parties, and “somehow” knew the contact information for all the other

counsel in order to do so. Obviously, there is no issue with that, but it is the first time

undersigned counsel has ever had the recipient of a subpoena bates label responsive documents

and serve them as though they were a party in discovery.

       Opposing counsel claims to have knowledge on how a “reasonable attorney” would assert

due process claims, though it does not appear that he has ever been an attorney for a Plaintiff, nor

does it appear he has ever asserted any due process claims himself. As this Court is well aware,

the entire point of discovery is to search for evidence that may support well pled claims. It is

often the case that claims are pled before having evidence. And Defendants have tried really

hard to make sure Plaintiffs got no evidence about the facts at issue for this claim. Fortunately,

evidence slipped through which creates clear issues of fact. But even if it had not, the proper

remedy is not to seek sanctions for daring to bring a claim against a party. It is to seek dismissal

and/or summary judgment.




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       The fact is, it is a due process violation that Defendant Padilla became the superior of the

adjudication division in the midst of Plaintiffs’ appeals, particularly when she was a witness for

Defendants in one of them. Plaintiffs were both entitled to an impartial adjudication of their

appeals. Despite Defendant Padilla’s misguided and fictional arguments, Plaintiffs do not need

to prove that Defendant Padilla nefariously bribed the judges or explicitly acted to bias this

process. The fact that there is complete absence of records regarding so much of these

allegations, including her move to SPO is highly suspicious. There should be numerous records

of this regularly conducted government activity, and the other government activities. SPO

representing that the promotional raise for Mr. Baca occurred the date of his hire, and was

approved by a director who left SPO months before his hire is self-impeaching. There would

have to be a DFA approved document, particularly as he not only got a raise, but had a change of

job title. Unlike with some of the other raises, they include no letter informing Mr. Baca of this

raise. The letters included to memorialize some of the other personnel actions are undated

and/or unsigned. They take personnel actions and misrepresent these actions on the sunshine

portal. This is our State’s Personnel Office, and yet they purport to keep no official final copies

of any of their personnel forms directly relevant to the questions involved in this claim. But then

show that they do actually keep these documents for others such as Dylan Lange, who is not

accused of any due process violations. It defies explanation, and is simply not credible.

       If Plaintiffs’ claim was a frivolous as Defendant Padilla wishes this Court to believe,

there would be plenty of evidence to disprove it. But there isn’t. There are no witnesses willing

to testify in Court, under oath, that Defendant Padilla started when she says. There are no hiring

documents and pay documents, approved by DFA, memorializing her raise and appointment to

Deputy Director. There are no legitimate signed and DFA approved raise documents for Aaron



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Baca. Defendant Padilla just relies on her word, under oath, to be proof of what she is saying. If

deposition testimony were the irrefutable proof that Defendant Padilla purports, there would

never be trials at all.



           Defendant Padilla’s counsel makes multiple material misrepresentations
                       to this Court in an attempt to seek sanctions


        Opposing counsel himself violates Rule 11 numerous times in his Motion. In addition to

combining two different documents and offering them as a single one, Mr Haupt fails to even

familiarize himself with the law surrounding the claim that he contends is frivolous enough to

warrant sanctions, or even with this case itself. As this Court knows, and has acknowledged in

this case, “Plaintiffs are correct that parties to an administrative adjudication have due process

rights to a fair and impartial hearing before a disinterested trier of fact who is free from bias. See

Benavidez v. Bernalillo County Bd. of County Comm’rs, 2021-NMCA-029, ¶ 32, 493 P.3d 1024.

Where a “due process violation claim is based on alleged bias on the part of the fact-finder, as

here, ‘[t]he inquiry is not whether the [fact-finders] are actually biased or prejudiced, but

whether, in the natural course of events, there is an indication of a possible temptation to an

average [person] sitting as a judge to try the case with bias for or against any issue presented[.]”

Id. ¶ 33 (quoting Reid v. N.M. Bd. of Exam’rs in Optometry, 1979-NMSC-005, ¶ 7, 92 N.M.

414).” [Doc 42 pg 10-11]

        He argues that Plaintiffs should have brought this claim against parties who are immune

from suit for such a claim (but then acknowledges the reason in a footnote, rendering that

argument completely moot) and proceeds to complain about his perception of the facts of this




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claim. He confusingly cites Jojola v. Chavez, 55 F.3d 488, 492 (10th Cir. 1995) as though it has

anything at all to do with the facts in the instant case. It does not.

        Opposing counsel even makes the argument to this Court that Plaintiffs’ claim against

Defendant Padilla is “especially injurious because Plaintiffs appear to seek over $5 million from

Defendants in this action, which Plaintiffs’ counsel must know Ms. Padilla could never pay.” As this

both opposing counsel and this Court are surely aware, Defendant Padilla’s ability to pay any

damages in this case is completely irrelevant because she is statutorily indemnified by NMSA 1978 §

41-4-4(D). It is extremely dishonest to misrepresent to this Court, particularly for purposes of

seeking a sanction against Plaintiffs and/or their counsel, that their client would personally be paying

any judgment or settlement in this case. Even if she would, that fact is completely irrelevant to

whether the claims against her are frivolous.

        Defendant Padilla attaches not a shred of evidence of anything she argues in her Motion. She

wastes the precious resources of this Court, and Plaintiffs’ time by filing a completely frivolous Rule

11 motion as a backdoor second motion to dismiss, the day before she filed a motion for summary

judgment, forcing Plaintiffs to brief two substantially similar responses. She makes arguments about

facts and evidence which themselves prove that there are questions of fact which make the claim

against Defendant Padilla possible. Nothing argued in her Motion at all proves that the claim against

Defendant Padilla is so frivolous as to warrant sanctions. Worse, she demands that undersigned

counsel personally repay the State of New Mexico for its costs defending a public employee 5 who is

indemnified by them. There is no legitimate basis for this motion to have ever been filed.

                                                 Conclusion




5
 Their supposedly “vigorous defense” including producing almost nothing in discovery, identifying no witnesses or
evidence, conducting none of their own depositions, and supplementing nothing as discovery proceeded.
Meanwhile, they have filed two motions to compel against Plaintiffs and threatened this Motion for 3 months.

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       For the reasons argued herein, Plaintiffs respectfully request that this Court deny

Defendant Padilla’s Motion for Rule 11 sanctions as it has no merit. Plaintiffs request that this

Court grant them attorney’s fees for the time having to respond to it and for whatever other relief

that this Court finds proper.




                                                                 Respectfully Submitted.




                                                                 Heather Burke
                                                                 Attorney at Law
                                                                 1000 Cordova Place #24
                                                                 Santa Fe, NM 87505
                                                                 (505) 428-9424
                                                                 heather@hburkelaw.com




                                CERTIFICATE OF SERVICE

I HEREBY CERTIFY that I caused a true and correct copy of the foregoing to be served on all
parties or counsel of record this 16th day of April, 2024, via the Court’s Electronic Filing
System.




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